      Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 1 of 23




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MATTHEW BOROWSKI

                        P1aintiff,                           23-CY-257
v.


U.S. CUSTOMS AND BORDER PROTECTION

                        Defendant




     MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF'S MOTION TO




                                         TRINI E. ROSS
                                         United States Attorney


                                     BY MARY K. ROACH
                                          Assistant U.S. Attorney
                                          U.S. Attorney's Office
                                          Western District of New York
                                          138 Delaware Avenue
                                          Buffalo, New York 14202
                                          7t6-843-5866
                                          mary.k.roach@,usdoj. gov
    Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 2 of 23




                                 TABLE OF CONTENTS



Argument                                                                                2


  I.       Plaintiffis Not Entitled to Expansion or Supplementation of the
           Administrative Record. . . .
                                      .                                                2


           a. The Administrative Record is Complete.....                         .. ....5
           b. PlaintiffHas Failed to Request or Justiff Supplementation of the
              Record with Extra-Record Evidence....                                     9


              i. Plaintiffhas Failed to Assert that Additional Materials
                  Are Necessary for the Court's Evaluation of the Agency's
                  Decision or Administrative Record.                                    9
              ii. PlaintiffHas Failed to Demonsffate Bad Faith or Improper
                  Behavior on behalf of CBP....                                       10


  II.      Plaintiffis Not Entitled to the Redacted Information in the
           Administrative Record.                                                      l1

           a. PlaintiffHas Not Established a Compelling Need for the
              Privileged Information..........                                         72


              i. Deliberative Process Privileged Information... ...          ..........13
              ii. Law Enforcement Privileged Information... ...                  .....15

           b. Personally Identifiable Information                                      77


Conclusion                                                                         ...19
      Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 3 of 23

                                     TABLE OF AUTHORITIES


Federal Cases

Ali v. Pompeo,2018 WL 2058152, at*5 (E.D.N.Y. May 2,2018)                                                4


Balt. Gas & Elec. Co. v. Nat. Res Def, Council, Inc., 462 U.S. 87, 105 (1983)                            2


Brodsky y. U.S. Nuclear Regulatory Comm'n,507 F. App'x 48,52 (2dCn.2013)                                 3


Camp v. Pitts, 4I1U.S. 138, L42 (1973)                                                                   2


Comprehensive Cmty. Dev. Corp. v. Sebelius,890 F. Sopp. 2d305,309 (S.D.N.Y.2012)..............passim


Dep't of Comtnerce v, New York,588 U.S. 752,780-81 (2019).                                             14


Estate of Landers   r Leavitt,545 F.3d 98, 113 (2dCn.2008)                                            4,10


Farm Sanctuary      r United States Dept of Agric.,664F. Supp. 3d334,346 (W.D.N.Y.2023).....2,3,4,11
Florida Power & Light Co. v. Lorion, 470 U.S. 729,743-44 (1985)                                      2,4,9


Grand Cent. P'ship v. Cuomo,166 F.3d 473, 482 (2dCir. 1999)                                            13


Hadwan v, United States Dep't of State,202l WL 4037714, at *3 (S.D.N.Y. Sept. 3,2021)...............3,4

In re The City of New York, 607 F .3d 923, 945 (2d Cir. 2010)                              12,15,16,18


Laxalt v. McClatchy, 809 F.2d 885, 889 (D.C. Cir. 1987)                                                1B


Nat. Res. Def, Council, Inc. v. Muszynski,268 F.3d 91, 97 (2d Cir. 2001)                               11


Nat'l Audubon Soc'y v. Hofrnan,l32F.3d7, L4(2dC:r.1997)                                                2,4


Oceana, Inc. v. Ross,920F.3d 855, 865 (D.C. Cir. 2019)                                               11,13


Outdoor Amusement Bus Ass'n, Inc.    t Dep't of Homeland Sec.,
No. 16 Civ. 1015, 2017 WL3L89M6, at*22 (D. Md. July 27,2017).....                                       11


Pac, Shores Subdivision, Cal. Water Dist. v. U.S. Army Corps of Eng'rs, 4/.8F. Supp. 2d1,5 (D.D.C.
   2006)                                                                                               3,4


Pascal Abidor, Nat'l Ass'n of Crim. Def, Laws. v. Johnson,20I6WL 3102017(E.D.N.Y. Jvne 2,2016) .18


Rosati v. Mayorkas, 691 F . Supp. 3d 597, 602 (N.D.N .Y . 2023).                                       3,8
      Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 4 of 23




Salehv. Blinken,596F. Supp.3d405,414-15 (E.D.N.Y.2022),(2dCir.              Aug.9,2023)    I
Spezzaferro v. Fed. Ayiation Admin., 807 F .2d 169, 173 (Fed. Cir. 1986)                  10


Sytrene Info. &Research Ctr.,Inc. v. Sebelius,851 F. Supp. 2d57,63 (D.D.C. 2AL2)           J


Tafos v. Dudas,530 F. Supp. 2d786,794(8.D. Va. 2008)                                      12


U, S. Dep't of Def. v, Fed. Lab. Rels. Auth., 5 1 0 U. S. 487, 494 (1994)                 17

Statutes



s.u.S.C$ 706(2)(a).                                                                        2




                                                       2
        Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 5 of 23




   MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF'S MOTION TO
  EXAPND THE ADMIMSTRATI\TE RECORD AND COMPEL PRT\TILEGE LOG

         PlaintiffMatthew Borowski's Amended Complaint, brought tnpart under the

Administrative Procedures Act ("APA"), challenges Defendant Customs and Border

Protection ("CBP")'s April 2023 decision denying Plaintiff s 2022 application to participate

in CBP's NEXUS program. ECF No. 9. On May 15, 2024, CBP filed the Administrative

Record in this matter, and on July 18, 2024, filed an Amended Administrative Record

containing fewer redactions on three (3) records. ECF Nos. 38, 45,46. In his Motion to

Expand the Administrative Record and Compel Privilege Log, Plaintiffrequests that this

Court compel "a privilege log and for CBP to pony up the missing documents and to un-

redact everything." ECF No. 52, Plaintiffs Motion ("P1. Mot.") p.7.

         First, Plaintiffhas failed to overcome the strong presumption that CBP properly

designated the adminisffative record. Second, Plaintiffhas neither requested that any

specified exffa-record evidence-not considered by the CBP decisionmaker in denying

Plaintiffs NEXUS application-be added to the Administrative Record, nor has he

demonsffated exceptional circumstances warranting such addition. Finally, Plaintiffis not

entitled to the information redacted from the Administrative Record. Accordingly,

Plaintiffs Motion requesting expansion of, and removal of all redactions in, the

Administrative Record must be denied.

                                        ARGUMENT

   I.       Plaintiffis Not Entifled to Expansion or Supplementation of the
            Admini5galive Record

         The APA provides a nalrow avenue for judicial review of agency action, in which a

court assesses whether an agency's final decision is rationally connected to, and supported

                                               1
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 6 of 23




by, the facts and evidence that the agency considered . See 5 U.S.C. $$ 704, 706(2)(A); Balt.

Gas & Elec. Co. v. Nat. Res. Def,, Council, Inc., 462 U.S. 87, 105 (1983) (A court's "on1y task is

to determine whether the [agency has] considered the relevant factors and afiicllated a

rational connection between the facts found and the choice made.").'

       In doing so, a reviewing court is generally "confined to the administrative record

compiled by that agerrcy when it made the decision." Nat'l Audubon Soc'y v. Hofrnan,732

F.3d7 , 14 (2d Cn. D97) (citing Florida Power & Light Co. y. Loion, 470 U .5. 729, 743-44

(1985); Camp v. Pitts,41 1 U.S. 138, 142 (1973) (noting that the "focal point for judicial

review should be the adminisfative record akeady in existence, not some new record made

initially in the reviewing court.")); see also Comprehensive Cmty. Der Cory. v. Sebelius,890 F.

Supp. 2d 305,309 (S.D.N .Y . 2012) ("It is the province of the agerrcy to compile and submit

the adminisffative record for review by the Court, and [c]ommon sense dictates that the

agency determines what constitutes the whole administrative record....") (citation omitted).

       "An agenry's designation of the administrative record is entitled to a rebuttable

presumption of adminisffative regularity, and a court is to assume the agency properly

designated the Administrative Record absent clear evidence to the conffary." Farm

Sanctuary v. United States Dep't of Agric., 664F . Supp. 3d 334,346 (W.D.N.Y. 2023)

(quotations and citations omitted). "In an APA case, a court should only consider materials

outside the certified administrative record in special circumstances." Rosati v. Mayorkas,69l

F. Supp. 3d 597 ,602 O{.D.N .Y. 2023) (quotations and citations omitted).

       "Requests by aparty to put materials before the Court that are outside the

administrative record filed by the agenry fall into two distinct categories. First, apafi may

supplement the administrative record if the party can show that materials exist that were



                                                 2
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 7 of 23




actually considered by the agency decision-makers b:ut are not in the record as

flled." Hadwanv. United StatesDep'tof State,2021WL4037714, at*3 (S.D.N.Y. Sept.3,

202L) (quotations and citations omitted). "Such a showing requires the party to rebut the

'strong presumption' that the agency properly designated the documents to be included in

the record ." fd. (citing Brodsky y. U.S. Nuclear Regulatory Comm'n,507 F. App'x 48, 52 (2d

Cir. 2013) (court must "afford deference to the agency's determination" of the record); Pac.

Shores Subdivision, CaL Water Dist. v. U. S. Army Cotps of Eng'rs, U8 F . Supp. 2d   l, 5 (D.D.C.
2006) ("absent clear evidence to the contrary, arl agency is entitled to a strong presumption

of regularity, that it properly designated the administrative record.")).

       "To overcome that presumption, the party must put forth 'concrete evidence'

showing that the purportedly excluded materials 'were before the agency decision-maker."'

Id. (citng Comprehensive Cmty. Dev. Cotp.,890 F. Supp. 2d at309 (emphasis in original); Pac.

Sltores,448F. Supp. 2dat6; Sytrenelnfo. &ResearchCtr., Inc.    t Sebelius,851 F. Supp. 2d57,
63 (D.D.C . 2012) (holding that a plaintiffs "conclusory statements" that documents were

before the decisionmakers "will not suffice; rather, the plaintiffmust identifu reasonable,

non-speculative grounds for [his] belief that the documents were considered by the agency

and not included in the record.") (quotations omitted)). "It is not enough for the party to

show that the documents were somewhere within the agency; the party must show that any

purportedly omitted documents were actually before the agency decision-maker." Id.

(quotations and citations omitted).

       Alternatively, a party may request that the court consider exffa-record evidence.

This may be done "when there has been a sffong showing in support of a claim of bad faith

or improper behavior on the part of agency decisionmakers." Hofrnan, l32F .3d at 14.



                                                3
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 8 of 23




"Making a showing of badfaith 'is no small hurdle,' and courts will not 'ascribe [] nefarious

motives to agency action as a general matter.' As such, a 'sffong showing' cannot be made

merely through 'naked assertions of badfaith."' Hadwan,202IWL 4037714, at *3 (citing

Ali v. Pompeo,2018 WL 2058152, at *5 (E.D.N.Y. May 2,2018); Estate of Landers v. Leavitt,

545 F.3d 98, 113 (2dCr.2008).

       A court may also consider extra-record evidence when supplemental materials would

illuminate a complex record, or where the supplemental materials are necessary to evaluate

whether the agency deviated from established agenq practices or failed to consider all

relevant factors. Farm Sanctuary, 664F. Supp. 3d at346.

       "The Court must also be mindful that'supplementation of the administrative record

is the exception, not the rule."' Hadwan,202lWL 4037714, at*4 (cittng Pac. Shores, 4y'.8F.

Supp. 2d at 5). Moreover, in the rare circumstances where supplementation of the record is

required, the proper course of action is to remand to the agerncy, not through court-

superviseddiscovery. FloidaPower&Light,470U.S. at744("[T]hepropercourse,exceptin

rare circumstances, is to remand to the agency for additional investigation or explanation.").

       In this maffer, the Adminisffative Record is demonsffably complete, and Plaintiffhas

neither requested nor justified the supplementation of the Administrative Record with any

exffa-record evidence. Consequently, Plaintiffs Motion to Expand the Adminisffative

Record must be denied.

           a. The Administrative Record is Complete
       Here, the CBP-compiled and filed Administrative Record contains all of the

information considered by the CBP decisionmaker when deciding whether to approve or

deny Plainttffs 2022 NEXUS application, ultimately decided in April 2023. ECF No. 45,



                                              4
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 9 of 23




Amended Administrative Record ("AAR"), Certification. Thus, the Adminisffative Record

is complete.

       In his Motion, "Plaintiffasks for the record to be expanded with the ful1y redacted

pages and any other documents that CBP has. . . Plaintiffbelieves that CBP is taking a

narow view of what information was 'considered by CBP when deciding whether to

approve or deny Plaintiffs NEXUS applications filed with CBP on May 26,2022 and

December 20,2022.' They are not including any of the voluminous other information

which could be seen or accessed by their Trusted Traveler Program staffor supervisors, such

as my entire ffavelhistory. .   ." Pl. Mot. p. 4. Plaintiffis "almost certain that there are
numerous other materials" that CBP left out of the record. Id. at7.

       Plaintiffs vague and unswom assertions are insufficient to provide reasonable, non-

speculative grounds that the alleged excluded materials were before the decisionmaker. He

thus fails to overcome the presumption of adminisffative regularity.

       Additionally, such assertions are contradicted by Plaintiffs own argument that CBP

considered the same information in its April 2023 denial of Plaintiffs NEXUS eligibility as

the information CBP considered aspart of Plaintiffs2017 NEXUS eligibility determination.

In his Motion, Plaintiffasks, "[h]ow can it possibly be fair for CBP to renew my NEXUS

pass, then upon subsequent renewal, revoke it due to the same considerations that they

akeady determined did not warrant revocation in the first instance?" Pl. Mot. p. 6. Further,

Plaintiffasserts that the challenged decision was "based upon events dating fuom2013-2016,

6 in total, none of which was a crime or rules violation." Id.

       Thus, Plaintiffmakes no substantive allegation that there were additional documents

considered by the CBP decisionmaker in his April 2023 decision, which were not included



                                                  5
    Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 10 of 23




in the Administrative Record. Rather, Plaintiffasserts (albeit incorrectly) that CBP

considered the same information for consecutive NEXUS eligibility determinations.

       Moreover, while Plaintiffclaims that he knows what evidence CBP considered in

deciding Plaintiffs NEXUS eligibility :r:,2023, Pl. Mot. p. 6, he contradictorily states that

"[i]t's not possible to fully understand what CBP's decision was based upon . . ." Pl. Mot.

p. 4. This conclusory assertion, without any citation or support, falls far short of rebutting

the strong presumption of regularity that CBP properly designated the Administrative

Record.

       Further, a cursory review of the Administrative Record refutes Plaintiffs claim.

Under the APA, the Court may review an agency's final action. In this matter, the final

agency action relating to Plaintiffs2022 application to CBP's NEXUS programwas the

CBP Ombudsman's April 2023 decision. That decision was:

       based on the totality of noncompliance with the inspection process on numerous
       occasions. Applicant has 6 positive [redaction] (3 in2013,1:r:r2074,1in2016, and
       the latest lrr2023) from inspections where the applicant's behavior is confrontational
       and/ or his actions interfere with the inspection process. Applicant was previously
       revoked for noncompliance in 2013 and Ombudsman granted discretion in April
       2074 and gave applicant another opportunity for TTP enrollment, but specifically
       stated to the Enrollment Center to please warn applicant against future
       noncompliance during both outbound or inbound inspections. Applicant likely
       should have been revoked for repeat noncompliance as noted in November 2014
       [redaction] or May 2076 lredactionl. Applicant has numerous crossings and 53 total
       secondary inspections. Applicant's April 2023fredaction] details alone are enough
       to warrant a sustained denial revocation based on statements of intended
       noncompliance the applicant made to the Watch Commander after the secondary
       inspection was complete. Port and EC can remind the applicant that those who do
       not qualifu for Trusted Traveler Program participation are not prohibited from
       entering the United States. However, they are not permitted to use a Trusted
       Traveler dedicated lane to do so. Does not warrant discretion at this time.

ECF No. 45, AAR, pp.2-3




                                               6
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 11 of 23




        Not only are the reasons for CBP's decision abundantly clear, the records referenced

in the CBP Ombudsman's decision are also contained in the Administrative Record. See

AAR, pp. 5-11 (April 4, 2023 border inspection records), 29-30 (May 22, 2016 border

inspection records), 31-36 (November 3, 2074 border inspection records), 42-45 (December

L4,2013 border inspection records), 46-48 (April 78,2013 border inspection records), 49-56

(Ir4arch 19,2013 border inspection records), 58-59 (spreadsheet of Plaintiffs secondary

inspections), and 66 (2013 NEXUS revocation and2014 reinstatement).

        Plaintifftakes particular issue with the CBP Ombudsman's consideration of

inspection records relating to his April 5,2023 border crossing, alleging that the record

contains false information. Pl. Mot. p. 5. Specifically, Plaintiffstates that the inspection

records falsely indicate that, during primary examination, the subject indicated to the

primary officer that his citizenship was irrelevant. Id. Thus, in Plaintiffs view, because the

decision relied upon alleged misrepresentation of facts, the denial of his NEXUS pass must

be set aside.

        Importantly, in the context of the instant motion, "[Plaintiffs] argument must be

rejected. Plaintiffs allegations in favor of supplementation of the administrative record

relate to the merits of his APA claim. . . [S]uch a determination is appropriate in the context

of a motion for summary judgment, not a motion to supplement the record. Accordingly,

plaintiffs request to supplement the record must be denied." Rosati, 697 F . Supp. 3d at 603

(citations omitted) (denying plaintiffs request to supplement the record where plaintiff

argued that supplementation was necessary because USCIS relied upon a misapprehension

of facts in denying his petition).1


I Even assuming Plaintiff s allegation that the documentation relating to the April 5, 2023 border crossing
contained false information were true, the CBP Ombudsman based the April 2023 decrsion, in part, upon

                                                       7
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 12 of 23




        Plaintiffs unsupported statement that it is not possible to understand the reasons for

CBP's decision, Pl. Mot. p.4, completely ignores the Administrative Record, which is

replete with records and information demonsffating the reasoned basis for CBP's decision.

        "[P]laintiffhas not identified reasonable, non-speculative grounds for his belief that

certain documents were considered by the agency and not included in the record. . . In

short, plaintiffhas not provided . . . any support for his claim that there were documents

that were before the agency that have not been included in the AR. There is no meaningful

suggestion in plaintiffs submissions, let alone a sffong showing, that the record before the

Court is not complete." Saleh v. Blinken, 5g6F. Supp. 3d 405, 414-15 (E.D.N.Y. 2022), affd

2023WL 5091819 (2dCr. Aug. 9, 2023) (quotations and citations omitted).

        Plaintiffhas not even identified any specific documents that he believes were

considered by the administrative decisionmaker that were impermissibly excluded from the

record. His conclusory speculation that the CBP decisionmakers "could" have "seen or

accessed" other materials, "such as [Plaintiffs] entire travel history", Pl. Mot. p. 4, is

insufficient to rebut the presumption that CBP properly designated the Administrative

Record. Accordingly, the Administrative Record as filed is complete.




statements that Plaintiffmade-to the Watch Commander, afier secotdary inspection was complete-of
Plaintiffs intended continued noncompliance with the border inspection process. ECF No.45, AAR, pp. 2-3;
see also AAR, p. 6, "'WC Notes" ("Mr. Borowski stated he will not answer questions he felt that a USC does
not need to answer . . . He claims that the offrcer does not need to know where in the US he is going. I spoke
to Mr. Borowski and advised him that if he does not answer the offrcer's questions, he may be sent or escorted
to secondary and that the officers (sic) questions provide the offrcer with information to make a admit/refer
decision. Mr. Borowski stated he will not answer those questions as he is not bound by the NEXUS program
as his card was revoked."). Thus, the statements that Plaintifftakes issue with-made to the primary offrcer
during primary inspection-were not the same statements which were considered by the CBP decisionmaker,
as clearly delineated in the Administrative Record.

                                                       8
    Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 13 of 23




          b. PlaintitrHas Failed to Request or Justiff Supplementation of the Record
              with Extra-Record Evidence

       Plaintiffhas neither requested the supplementation of the record with any specified

extra-record evidence, nor has he sufficiently demonsffated exceptional circumstances

warranting such introduction.

       To the extent Plaintiffs arguments could be consffued as requesting introduction of

extra-record evidence not considered by the CBP decisionmaker, Plaintiffhas failed to

demonstrate that any specific extra-record evidence would inform the Court's review of the

Administrative Record, or that CBP acted in bad faith. Moreover, Plaintiffhas wholly

failed to demonsffate unusual circumstances justifying a depafiure from the general rule

against considering extra-record evidence. As noted above, even in such circumstances, the

proper course of action would be for remand to CBP for additional investigation or

explanation. Florida Power & Lrght,470 U.S. at744.

                  i. Ptaintiffhas Failed to AssertthatAdditional Materials Are
                     Necessary for the Court's Evaluation of the Agency's Decision or
                     Administrative Record

       Plaintiffhas not claimed that the instant record is so complex as to warrant

supplementation with additional materials that would otherwise inform the Court's review.

Indeed, Plaintiffargues that the record is "only 80 pages in length." P1. Mot. p. 4. Further,

Plaintiffhas not asserted that the Court needs to consider arLy specific supplemental

materials in order to evaluate whether CBP failed to consider relevant factors or deviated

from established CBP practices. Accordingly, Plaintiffhas failed to either request or justifu

expansion of the Administrative Record with any exfra-record evidence.




                                              9
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 14 of 23




                    ii. Plaintiff Has Failed to Demonstrate Bad Faith or Improper
                        Behavior onbehalf of CBP

          Furthermore, Plaintiffs motion is scant of evidence or argument that CBP has

demonstratedbad faith in the compilation or production of the Administrative Record.

Plaintiffstates in his motion merely that "the litigation in this case over the FOIA shows

ongoing badfaith" (P1. Mot. p.7),but at no point asserts there has been any bad faith or

improper behavior as it relates to litigation of his APA claim. Plaintiffs assertions

throughout that CBP is "hiding" things (P1. Mot. p. 5,6) refer to the redactions applied in

the Administrative Record, discussed below.

          Further, Plaintiffhas neither alleged facts, nor provided any evidence, to support his

conclusory assertion that this litigation demonsffates ongoingbadfaith. Such naked

assertions of bad faith are insufficient to ascribe any nefarious motive to CBP in this matter

and overcome the presumption of good faith. See, e.g., Estate of Landers,545 F.3d at

113 (stating that courts will not "ascribe ... nefarious motives to agency action as a general

matter"); Spezzaferro v. Fed. Aviation Admin., 807 F.2d 169, 173 (Fed. Cir. 1986) (to overcome

the presumption of good faith, "[t]he proof mustbe almostrrefragable") (quotation and

citations omitted).

          In sum, Plaintiffhas wholly farled to demonstrate that the Adminisffative Record is

incomplete or otherwise requires exffa-record documentation, and the Court should

"assume the agency properly designated the Adminisffative Record absent clear evidence to

the conffary." Faru Sanctuary,664F. Supp. 3dat346 (quotation and citation omitted).

Because Plaintiffhas failed to meet his burden to overcome the presumption of

administrative regularity, his Motion to Expand the Adminisffative Record should be

denied.


                                                 10
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 15 of 23




    tr.      Plaintiffis Not Entitled to the Redacted Infomation in the Administrative
             Record

          Plaintiffappears to simultaneously request the Court to compel CBP to both provide

a privilege 1og and disclose the redacted information.

          A privilege log is not required in APA matters because, as discussed below,

privileged materials are not part of the Administrative Reco rd. See Oceana, Inc. v. Ross,920

F.3d 855, 865 (D.C. Cu.2019) ("The District Court correctly observed that predecisional

and deliberative documents are not part of the administrative record to begin with, so they

do not need to be logged as withheld from the administrative record.") (quotations omitted);

Outdoor Amusement Bus Ass'n, Inc. v. Depl of Homeland Sec., No. 16 Civ. 1015, 2017 WL

3189M6,at*22 (D.Md. ht|y27,2017) ("[N]oprivilegelogisrequiredfordeliberative

materials that are not properly part of the administrative record in the first instance.").

However, because a comparable index relating to many of the same records has akeady

been provided to Plaintiffas part of Plaintiffs FOIA claim in this case, CBP has annexed a

privilege 1og as Exhibit A to the Declaration of Ray Provencio ("Provencio Dec."), filed

herewith.

          Plaintiffs argument that the redactions from the Administrative Record do not make

it possible for the Court to make its decision here misapprehends the APA inqury. SeePl.

Mot. p. 7; Nat Res. Def, Council, Inc. v. Muszynski,268F.3d91,97 (2dCtr.2001) (describing

the court's role as limited to "examining the administrative record to determine whether the

[agency] decision was based on a consideration of the relevant factors and whether there has

been a clear error ofjudgment") (internal quotation and citation omitted). As discussed in

detail supra, the Adminisffative Record, as filed by CBP with redactions, thoroughly reflects




                                                11
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 16 of 23




CBP's reasons for, and the information underlying, the challenged decision. The redacted

information is wholly irrelevant to the Court's inquiry here.

        Moreover, Plaintiffs request to unredact all information in the Administrative

Record is meritless not only because the redacted information is immaterial to the Court's

inquiry, but also because a complete Administrative Record does not include priviteged

materials. See, e.g., Comprehensive Cmty. Dev. Corp.,890 F. Supp. 2d at3l2 ("[C]ourts have

consistently recognized that, for the purpose ofjudicial review of agency action, deliberative

materials antecedent to the agency's decision fall outside the administrative record,."); Tafas

'v. Dudas,530 F. Supp.   2d786,794 (E.D. Va. 2008) ("A complete adminisffative record,

however, does not include privileged materials, such as documents that fall within the

deliberative process privilege, attorney-client privilege, andwork product privilege.").

           a. PlaintiffHas Not Established a Compelling Need for the Priviteged
               Infomation

       Relating to Plaintiffs request that the Court compel CBP to disclose the redacted

privileged information, Plaintiffhas not rebutted the "sffong presumption against lifting the

privilege[s]" because he has not established a "compelling need" for the privileged

information. In re The City of New York,607 F.3d923,945 (2d Cir. 2010) (quotations and

citations omitted). Moreover, even "demonstrating a 'compelling need' does not

automatically entitle a litigant to privileged information"-the court must still balance "the

public interest in nondisclosure against the need of a particular litigant for access." Id.

(quotations, citations, and alter ations omitted).

                   i. Deliberative Process Privileged Infomation
       CBP asserts the deliberative process privilege ("DPP") over one (1) document within

the Adminisffative Record-Document 1l-that falls within the core of the privilege:


                                                t2
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 17 of 23




internal, predecisional dellberations, opinions, and recommendations regarding Plaintiffs

NEXUS eligibility determination made :r;r2014.2 Provencio Dec. fl !l 1S-19; see also Grand

Cent. P'ship v. Cuomo, 166 F.3d 473, 482 (2d Cn. 1999) ("The [DPP] protects

recommendations, draft documents, proposals, suggestions, and other subjective documents

which reflect the personal opinions of the writer rather than the policy of the agency.")

(quotation marks omitted).

        Disclosure of this information would c-reate a chilling effect that would harm intemal

Agency open discourse, and could create public confusion in releasing non-finaltzed, pre-

decisional records. Provencio Dec. fl 19. Further, release of the predecisional records

containing inta-agency deliberations conceming a NEXUS eligibility determination would

reasonably be expected to impede the open and candid expression of recommendations and

opinions necessary to making such a determination. Id. Such a result would greatly

diminish the quality of decisionmaking of the government to the public's detriment. Id.

        Importantly, agency deliberations are not necessary $ appropriate for judicial review

in an APA claim because "predecisional and deliberative documents are not part of the

adminisffative record to begin with" and, absent a showing of bad faith or improper

behavior, are "immaterial." Oceana, lnc.,920 F.3d at 865 (citations and quotations omitted).

Excluding deliberative materials from the Administrative Record serves two purposes: (1)

"it reflects that it is the agenry's articulated justification for its decision that is at issue; the

private motives of agency officials are immaterial;" and (2) it " advances the functional goal

of encouraging the free flow of ideas within agencies, with agency employees not inhibited



2
 In his Motion, Plaintiffincorrectly asserts that Document 11 is fully redacted. Pl. Mot. p. 6. CBP filed an
Amended Administrative Record on July 18, 2024 (ECF No. 45) and those pages of Document 11 are clearly
not fully redacted. AAR, pp. 37-41.

                                                     13
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 18 of 23




by the prospect ofjudicial review of their notes and internal communications, which would

otherwise render agency proceedings . . . useless both to the agency and the courts."

Comprehensive Cmty. Dev. Corp.,890 F. Supp. 2d at372 (quotations and citations omiued).

       Notably, the determination to which those emails relate-Plaintiffs 2014 NEXUS

eligibility determination-is not the subject of Plaintiffs claim. Provencio Dec. fl 18. Thus,

the redacted information is also immaterial as this litigation does not involve a question

concerning the intent of the decisionmaker or the decisionmaking process relating to

Plaintiffs 2014 NEXUS application.

       Moreover, to the extent that Plaintiffwould attempt to rely on such communications

and deliberations to challenge an agency rationale, the law is clear that Plaintiffmay not do

so. As the Supreme Court recently articulated, it is well settled that"a court is ordinarily

limited to evaluating the agency's contemporaneous explanation in light of the existing

administrative record," and "a court may not reject an agency's stated reasons for acting

simply because the agency might also have had other unstated reasons." DepT of Commerce

v. New York, 588 U.S. 7 52, 780-81 (20t9).

       Thus, Plaintiffhas failed to demonstrate that the redacted DPP information is

relevant to his claim sufficient to justifii the extraordinary intrusion into the deliberative

process privilege, and the Court should deny Plaintiffs request that such information be

unredacted and included in the Administrative Record.

                  ii. Law Enforcement Privileged Infonnation
       As reflected in the privilege 1og, Exhibit A, CBP asserts the 1aw enforcement

privilege ("LEP") over informationrcgarding law enforcement techniques and procedures

utilized by CBP in securing the United States border. Provencio Dec., fl12. Plaintiffhas not



                                                 l4
    Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 19 of 23




established any need for the LEP information redacted in the Administrative Record.

Moreover, the LEP information is immaterial to this Court's resolution as to whether CBP's

determination relating to Plaintiffs NEXUS eligibility was arbitrary and capricious or

otherwise conffary to law.

       The LEP protects "information pertaining to law enforcement techniques and

procedures, information that would undermine the confidentiality of sources, information

that would endanger witness and law enforcement personnel or the privacy of individuals

involved in an investigation, and information that would otherwise . . . interfere with an

investigation." fn re The City of New York,607 F.3d at 948 (quotations, citation and

alteration omitted).

       As reflected in the privilege 1og, the LEP information redacted from the

Administrative Record consists of: non-public law enforcement system arrd database

information, functionalities, and capabilities; non-public, 1aw enforcement sensitive CBP

codes and identifiers; techniques and procedures utilized by CBP law enforcement in

inspecting individuals crossing the United States border; criteria used by CBP to determine

which travelers require additional border inspection; methods for processing and querying

records in CBP law enforcement systems and databases; non-public, intra-agency contact

information; non-public CBP system website addresses and information pertaining to access

of those systems; and investigative conclusions and determinations compiled for law

enforcement purposes. Provencio Dec.fl 12. This information is not generally known by the

public. Id.,n13.

       Release of such information would reveal law enforcement procedures and

techniques uttlized in securing the U.S. border and in facilitating lawful ftade and travel,



                                               15
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 20 of 23




disclosure of which would corrupt the integrity of law enforcement and other screening

activities at the border. Id., n 14. The LEP information could be used by individuals

attempting to circumvent or violate immigration and customs laws to alter pattems of

conduct, predict CBP's investigative sffategy, adopt new methods of operation to conceal

criminal activity, and develop countermeasures to thwart the effectiveness of CBP's law

enforcement efforts. Id., n 75-16. Disclosure of the LEP information further presents a risk

that CBP systems and communications could be compromised or more effectively navigated

and exploited, detrimental to CBP's law enforcement mission. Id.,nn 14-17. Additionally,

disclosure of the LEP information could facilitate the admission of high-risk travelers into

CBP's Trusted Traveler Programs. Id.,n 16. .

       Accordingly, the redacted information falls squarely within the LEP. Because

Plaintiffhas not established any need-let alone a compelling need-for the redacted LEP

information, the Court need not engage in balancing the public interest in nondisclosure

against Plaintiffs need for access. In re The City of New York, 607 F.3d at 945-47 . Therefore,

Plaintiffs request for disclosure of the LEP redacted information should be denied.

           b. Personally Identifiable Infonnation
       In addition to the aforementioned privileged information, information consisting of

CBP employee names and the names or identitring information of third parties has been

redacted from the Administrative Record. Specifically, the names of CBP employees were

redacted from Adminisffative Record document numbers 3 (pp. 5-11), 7 @p.20-24),8 (pp.

25,27),9 (pp.29-30),10 (pp.31-36), 11(pp. 37-41),12(pp.42,44),13 (pp. 46,48),14(pp.

49-56), and 77 (pp. 66-67 ,69). Names and/ or identifuing information of third parties were




                                               t6
     Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 21 of 23




redacted from Administrative Record document numbers 9 (p. 30), 11 (pp. 37-41), 12 (pp.

M-45), and 77 (p.69).

        The aforementioned names and identifuing information are properly excluded from

the Administrative Record because they are irrelevant to the challenged decision underlying

Plaintiffs APA claim. Provencio Dec. fl 20.

        Further, disclosure is prohibited under the Privary Act, 5 U.S.C. $ 552a, which

generally bars disclosure of personal information, absent consent of the individual affected.

In addition to ttrird parties, the Privacy Act generally applies to federal employee personnel

information. See, e.g., U.S, Dep't of Def, v. Fed. Lab. Rels. Auth.,510 U.S. 487 , 494 (1994)

(finding that the addresses of agenry employees were "records" covered by broad terms of

Privacy Act, and their disclosure would thus be prohibited by law unless FOIA required

release).

       Disclosure of information otherwise protected under the Privacy Act may be

disclosed if done "pursuant to the order of a court of competent jurisdiction." 5 U.S.C. $

552a(b)(11). Critically, to justiff a court order, a party seeking information must satisfu the

relevance standard of discovery set forth in Rule 26@)(l) of the Federal Rules of Civil

Procedure . Laxalt v. McClatchy, 809 F .2d 885, 889 (D.C. Cir. 1987) (holding that " a party

can invoke discovery of materials protected by the Privary Act through the normal

discovery process and according to the usual discovery standards, and the test of

discoverability is the relevance standard"); see also Pascal Abidor, Nat'l Ass'n of Cim. Def,,

Laws. v. lohnson, 20L6 WL 3702077 , at*7 (E.D.N.Y. Jlune 2, 2016).

        Here, the names of CBP personnel and personally identifiable information of third

parties should not be disclosed under the Privacy Act because Plaintiffhas not established



                                                 t7
      Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 22 of 23




the relevance of the information necessary to obtain court-ordered disclosure. Because such

redacted information is neither evidence nor a valid explanation of CBP's reasoned basis

underlying the decision that Plaintiffchallenges, a court may not rely upon them in its

review of the final agency action under the APA, and the information does not belong in an

Administrative Record.3 Importantly, Plaintiffprovides no cognizable explanation as to

why the redacted information-irrelevant to CBP's decision here-should be unredacted

and included within the Administrative Record.

         In sum, Plaintiffhas not explained his need for any of the redacted information at all,

particularly when the Administrative Record as filed amply reflects why Plaintiffwas denied

renewal of his NEXUS pass in 2023. Simply, the redacted information Plaintiffseeks has

no bearing on his APA cause of action. Plaintiffhas not established that the privileged

material he seeks is relevant, and Plaintiffhas failed to rebut the "sffong presumption"

against disclosure. Importantly, his unsubstantiated request "certainly does not outweigh

the public's substantial interest in nondisclosure as a means to preserve the integrity" of the

border and national security. In re The City of New York,607 F.3d at946.

         Thus, Plaintiffs Motion to Compel provision of the redacted information should be

denied as irrelevant and unjustified under the law.

                                             CONCLUSION

         The Administrative Record is complete, and Plaintiffhas failed to provide any

evidence-let alone clear evidence-sufficient to overcome the rebuttable presumption of

administrative regularity that CBP properly designated the Administrative Record. Further,



3
  Should this Court otherwise find that the names of CBP personnel and personally identiffing information of
third parties are relevant to the Court's APA inquiry in this matter, CBP reserves its right to seek a related
protective order.

                                                      18
    Case 1:23-cv-00257-EAW-MJR Document 59 Filed 09/23/24 Page 23 of 23




Plaintiffhas neither requested that extra-record evidence be considered by the Court, nor

otherwise demonstrated exceptional circumstances warranting supplementation of the

Administrative Record with extra-record evidence. Thus, Plaintiffs Motion for Expansion

of the Administrative Record should be denied. Finally, CBP has provided a privilege 1og,

and Plaintiffis not otherwise entitled to the redacted information contained in the

Administrative Record. Accordingly, Plaintiffs Motion relating to his request for

expansion of the Administrative Record and for CBP to remove all redactions in the

Administrative Record must be denied.



      DATED: Buffalo, New York, September 23,2024.


                                                         TRINI E. ROSS
                                                         United States Attorney


                                                  BY: S/MARY K. ROACH
                                                         Assistant U.S. Attomey
                                                         U.S. Auomey's Office
                                                         Westem District of New York
                                                         138 Delaware Avenue
                                                         Buffalo, New York 14202
                                                         7t6-843-5866
                                                         mary.k.roach@usdoj. gov




                                             t9
